                                                                               Case 3:04-cv-02201-JSW Document 374 Filed 03/20/06 Page 1 of 2



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                                                                         6                               IN THE UNITED STATES DISTRICT COURT
                                                                         7
                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                             MEDTRONIC, INC.,
                                                                         9
                                                                                            Plaintiff,
                                                      10                                                                                No. C 04-02201 JSW
                                                                               v.
                                                      11
United States District Court




                                                                             GEOFFREY WHITE,
                                                      12                                                                                ORDER ON OBJECTIONS TO
                                                                                            Defendant.                                  DEPOSITIONS OF DR. MARTIN
                                                      13                                                                     /          R. BACK AND DR. JAMES MAY
                               For the Northern District of California




                                                      14                     LOS ANGELES BIOMEDICAL RESEARCH
                                                                             INSTITUTE AT HARBOR-UCLA MEDICAL
                                                      15                     CENTER,
                                                      16                                    Third-Party Intervenor and
                                                                                            Plaintiff,
                                                      17
                                                                              v.
                                                      18
                                                                             GEOFFREY WHITE,
                                                      19
                                                                                            Defendant.
                                                      20
                                                      21                            The Court has received and considered the parties’ deposition designations for Drs.
                                                      22                     Martin R. Back and James May and the objections thereto. The Court’s rulings on these
                                                      23                     objections are set forth in the remainder of this Order.
                                                      24                            1.      Dr. Martin Back
                                                      25                            Dr. White’s objections to pages 42:4-44:25 are sustained.
                                                      26                            2.      Dr. James May
                                                      27                            Dr. White’s objections to pages 36:10-37:15 are sustained.
                                                      28                            Dr. White’s objections to page 71:18-72:1 are sustained.
                                                                               Case 3:04-cv-02201-JSW Document 374 Filed 03/20/06 Page 2 of 2



                                                                         1         L.A. Biomed’s objections to page 111:3-11 are sustained.
                                                                         2         All remaining objections are overruled.
                                                                         3         IT IS SO ORDERED.
                                                                         4
                                                                         5   Dated: March 20, 2006
                                                                                                                                  JEFFREY S. WHITE
                                                                         6                                                        UNITED STATES DISTRICT JUDGE
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                                                      11
United States District Court




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                               For the Northern District of California




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